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 Shea N. Palavan (State Bar No. 339543)
 shea@palavan.com
 PALAVAN MOORE
 PALAVAN & MOORE, PLLC
 4590 MacArthur Boulevard, Suite 500
 Newport Beach, California 92660
 Telephone: (832) 800-4133
 Facsimile: (855) PALAVAN (725-2826)
 Attorneys for Plaintiff,
 DIGITAL VERIFICATION SYSTEMS, LLC



                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                            SOUTHERN DIVISION

 DIGITAL VERIFICATION SYSTEMS,                               Case No. 5:22-CV-00686-JWH-SP
 LLC,
                 Plaintiff,                                  JOINT NOTICE OF SETTLEMENT
                                                             AND STIPULATION OF DISMISSAL
 V.                                                          JURY TRIAL DEMANDED
 ENCYRO, INC.,                                               Judge:       Hon. John W. Holcomb
                 Defendant.                                  Courtroom:   9D


        COMES NOW, Plaintiff, Digital Verification Systems, LLC (hereinafter, “Plaintiff”),
and Defendant, Encyro, Inc. (hereinafter, “Defendant”), by and through their respective
undersigned counsel, hereby respectfully file this Joint Notice of Settlement and Stipulation of
Dismissal, and, in support thereof, would hereby respectfully show unto this Honorable Court
as follows:




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        The matter has been settled. Therefore, including pursuant to FEDERAL RULE OF CIVIL
PROCEDURE 41(a)(1)(A)(ii), the parties hereby respectfully stipulate to the dismissal of this
case with prejudice, including all claims of Plaintiff and all claims of Defendant, with each
party to bear its own costs and expenses.


 Dated: February 24, 2023                                    Respectfully submitted,
                                                             PALAVAN & MOORE, PLLC
                                                             /s/ Shea N. Palavan
                                                             Shea N. Palavan (State Bar No. 339543)
                                                             4590 MacArthur Boulevard, Suite 500
                                                             Newport Beach, California 92660
                                                             Telephone: (832) 303-0704
                                                             Facsimile: (855) PALAVAN (725-2826)
                                                                 shea@houstonip.com
                                                             Jay Johnson
                                                                jay@kjpllc.com
                                                             KIZZIA JOHNSON, PLLC
                                                             1910 Pacific Avenue, Suite 13000
                                                             Dallas, Texas 75201
                                                             Telephone: (214) 451-0164
                                                             Facsimile: (214) 451-0165
                                                             Stephen Lobbin (State Bar No. 181195)
                                                                sml@smlavvocati.com
                                                             SML AVVOCATI P.C.
                                                             888 Prospect Street, Suite 200
                                                             La Jolla, California 92037
                                                             Telephone: (949) 636-1391
                                                             Facsimile: (214) 451-0165
                                                             Attorneys for Plaintiff,
                                                             DIGITAL VERIFICATION SYSTEMS,
                                                             LLC

                                                             /s/ Rachael D. Lamkin
                                                             Rachael D. Lamkin
                                                             Lamkin IP Defense
                                                             One Harbor Drive, Suite 300
                                                             Sausalito, California 95965
                                                             RDL@LamkinIPDefense.com
                                                             916.747.6091
                                                             Attorneys for Defendant,
                                                             ENCYRO, INC.


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                                        CERTIFICATE OF SERVICE
        I hereby certify that, per FEDERAL RULE OF CIVIL PROCEDURE 4 and 5 and this Court’s
Procedures, Orders, Schedule, and Rules, including CIVIL LOCAL RULE 5-3 and 5-4, all counsel
of record who are deemed to have consented to electronic service are being served with a copy
of this document via electronic mail and/or the Court’s CM/ECF system. Any other counsel
of record will be served by electronic mail, facsimile transmission, and/or first-class mail on
this same date.

 Dated: February 24, 2023                                    /s/ Shea N. Palavan
                                                             Shea N. Palavan




                                                                                                  Page 3|3
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